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             IN THE CIRCUIT COURT OF LONOKE COUNTY, ARKANSAS
                               ~ DIVISION

Peggy Kirkpatrick, as Special Administrator
of the Estate of Lillie Mitchell, and on behalf
of the wrongful death beneficiaries of Lillie Mitchell

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Cavalier Healthcare of England, LLC d/b/a                                  _,     ---~"--
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Cavalier Healthcare of England;
Limited Holdings, LLC; Bethel Investments, LLC;
and Randy McChristian in his capacity as
Administrator of Cavalier Healthcare of England                                                 DEFENDANTS

                                           COMPLAINT

        COMES NOW, the Plaintiff, Peggy Kirkpatrick, as Special Administrator of the Estate of

Lillie Mitchell, deceased, and on behalf of the wrongful death beneficiaries of Lillie Mitchell, by

and through her attorneys, Reddick Moss, PLLC, and for her causes of action against the

Defendants, states as follows:

                                   JURISDICTIONAL STATEMENT

        1.      Peggy Kirkpatrick is the Special Administrator of the Estate of Lillie Mitchell

pursuant to the Circuit Court of Lonoke County, Probate Division, Order Appointing Special

Administrator dated April 14, 2015, a copy of which is attached hereto as Exhibit A, and brings

this action on behalf of the Estate Lillie Mitchell.

        2.      Peggy Kirkpatrick is Lillie Mitchell's daughter.

        3.      Other than hospitalizations, Lillie Mitchell was a resident of Cavalier Healthcare

of England (sometimes referred to as "facility"), a nursing home located at 400 Stuttgart

Highway, England, Lonoke County, Arkansas, from approximately August 30, 2014 until

January 2, 2015.
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         4.    Defendant Cavalier Healthcare of England, LLC is a foreign limited liability

company that engaged in business in the state of Arkansas and owned, operated, managep, and

held the license for the nursing home located at 400 Stuttgart Highway, England, Lonoke

County, Arkansas, known as Cavalier Healthcare of England. The causes of action made the

basis of this suit arise out of such business conducted by Defendant Cavalier Healthdare of

England, LLC in the ownership, operation, management, licensing and/or control of the facility

during the residency of Lillie Mitchell. The agent for service of process for Defendant Cavalier

Healthcare of England, LLC is National Registered Agents, Inc. of Arkansas, 124 W. Capitol

A venue, Suite 1900, Little Rock, Arkansas 72201.

         5.    Defendant Limited Holdings, LLC is a foreign limited liability company that

engaged in business in the state of Arkansas and owned, operated, controlled, managed and/or

provided services to Cavalier Healthcare of England at times pertinent to this lawsuit. Defendant

Limited Holdings, LLC exercises operational and managerial control over Cavalier Healthcare of

England and does business in Arkansas through the actions of its agents, employees, staff, and

others at the nursing home. At all times material to this action, Defendant Limited Holdings,

LLC was a control person as defined in Ark. Code Ann. § 4-88-113(d)(I) and is therefore

jointly and severally liable for the Plaintiffs' damages. The causes of action made the basis of

this suit arise out of such business conducted by Defendant Limited Holdings, LLC in the

ownership, operation, control, management, and provision of services for the facility during the

residency of Lillie Mitchell. The agent for services of process on Defendant Limited Holdings,

LLC is Terry D. Little, 265 N. Lamar Boulevard, Suite R, P.O. Box 1396, Oxford, Mississippi

38655.

         6.    Defendant Bethel Investments, Inc. is a foreign limited liability company that

engaged in business in the state of Arkansas and owned, operated, controlled, manage4 and/or
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provided services to Cavalier Healthcare of England at times pertinent to this lawsuit. Deftndant
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Bethel Investments, Inc. exercises operational and managerial control over Cavalier Healthcare
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of England and does business in Arkansas through the actions of its agents, employees, staff, and

others at the nursing home. At all times material to this action, Defendant Bethel Investments,

Inc. was a control person as defined in Ark. Code Ann. § 4-88-113(d)(l) and is therefore jointly

and severally liable for the Plaintiffs' damages. The causes of action made the basis of this suit

arise out of such business conducted by Defendant Bethel Investments, Inc. in the ownership,

operation, control, management, and provision of services for the facility during the residency of

Lillie Mitchell. The agent for services of process on Bethel Investments, Inc. is Michael

Cunningham, 3130 Endville Road, Belden, Mississippi 38826.

         7.    Upon information       and   belief,   Defendant Randy     McChristian was       the

Administrator of Cavalier Healthcare of England during the residency of Lillie Mitchell. The

causes of action made the basis of this suit arise out of Mr. McChristian's administration of

Cavalier Healthcare of England during the residency of Lillie Mitchell. Defendant Randy

McChristian was a control person as defined in Ark. Code Ann.§ 4-88-113(d)(l) and is therefore

jointly and severally liable for the Plaintiffs damages. Defendant Randy McChristian may be

served with process at his last known address:        921 Charmont Drive, Charleston, Arkansas

72933.

         8.    The Defendants collectively controlled the operation, planning, management, and

staffing of the Facility. The authority exercised by the Defendants over the Facility included, but

was not limited to, control of marketing, human resources management, training, staffing,

creation and implementation of policies and procedures used by the Facility, federal and state

Medicare and Medicaid reimbursement, quality care assessment and compliance, licensure and



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certification, legal services, and financial, tax, and accounting control through fiscal policies

established by the Defendants.

        9.     The Defendants operated as a joint venture/enterprise for the purpc>se of

streamlining and furthering their similar business interests, as the Facility, Central Arkansas

Nursing Centers, Inc. and Nursing Consultants, Inc. were owned by and controlled by the same

owners, managers, and decision makers.

        10.    At all relevant times mentioned herein, the Defendants owned, operated and/or

controlled the operation of the Facility, either directly or through the agency of each other and/or

other agents, subsidiaries, servants, or employees.

        11.    Because the Defendants named herein and others were engaged in a joint

venture/enterprise during relevant times, the acts and omissions of each participant in the joint

venture/enterprise are imputable to all other participants. The actions of the Defendants and each

of its servants, agents and employees as set forth herein, are imputed to each of the Defendants,

jointly and severally.

        12.    Whenever the term "Nursing Home Defendants" is used throughout this

Complaint, that term collectively refers to and includes the following Defendants: Cavalier

Healthcare of England, LLC d/b/a Cavalier Healthcare of England, Limited Holdings, LLC, and

Bethel Investments, LLC.

        13.    Whenever the term "Administrator Defendant" is used throughout this Complaint

that term refers to Defendant Randy McChristian.

        14.    Whenever the term "Defendants" is used throughout this Complaint, that term

collectively refers to and includes all named Defendants.

        15.    Jurisdiction and venue are proper in this Court.

                           BACKGROUND AND FACTUAL ALLEGATIONS

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       16.     This case arises from Defendants' systemic failures to have sufficient staff at

Cavalier Healthcare of England to meet the needs of all of its residents which causedi Lillie

Mitchell to suffer the injuries described in more detail below.

       17.     Persons admitted to a nursing facility have limitations caused by pljiysical

deterioration, cognitive decline, the onset or exacerbation of an acute or chronic illness or

condition, or other related factors. They need nursing care, medical treatment, and rehabditation
                                                                                              '
to maintain functional status, increase functional status, or live safely from day to day. Many
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such residents are elderly, disabled, confined to their beds or unable to rise from a bed o,t chair

independently, and unable to groom, feed, toilet, or clean themselves. Consequently, many     1
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nursing home residents rely upon nursing home staff for not only skilled nursing care and
                                                                                              i
treatment, but also essential primary care (herein "Basic Care") including:

               a)      toileting assistance;

               b)      incontinence care and changing of wet and soiled clothing and linen;

               c)      assistance transferring to and from bed and wheelchair;

               d)      assistance with dressing and personal hygiene;

               e)      assistance with bathing;

               f)      assistance with turning and repositioning residents in bed or chair;

               g)      feeding assistance; and

               h)      exercises/passive range of motion ("ROM") exercises.

       18.     Basic Care is primarily delivered by Certified Nursing Aides or "CNAs."

       19.     Defendants limited the number of CNA staff on duty at Cavalier Healthcare of

England and rendered the facility incapable of delivering the Basic Care that residents needed.

While the intent may have been to control costs, the effect on resident care was dramatic. With



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the limited budgets for CNA staffing, the supply of CNA hours fell far short of the demand for

care by the resident population.

       20.     The profound difference between the amount of services that Defendants

promised and claimed to provide and the amount of services that Cavalier Healthcare of England

could have provided is at the heart ofthis case.

       21.     Interviews with residents' families and former employees, and analysis of survey

results reported by the Office of Long Term Care will all confirm the chronic understaffing of

Cavalier Healthcare of England and the Defendants failure to provide the Basic Care         s~rvices


that they were paid to provide.

       22.     More specifically, CNA understaffing led to a pattern and practice of failing to

provide Basic Care Services at Cavalier Healthcare of England throughout the residency of Lillie

Mitchell. For example, Cavalier Healthcare of England:

               a)      Failed to regularly provide toileting, incontinence care, and basic hygiene
                       care, leaving dependent residents in dirty diapers, dirty clothes, and dirty
                       beds for hours at a time;

               b)      Failed to timely respond to call lights rung by residents. Residents were
                       left to soil themselves while waiting for assistance; others fell while
                       attempting to walk to the bathroom unaided;

               c)      Failed to re-position bed-bound and immobile residents; many residents
                       remained in the same position for hours at a time, which can and
                       sometimes did result in painful, infection-prone pressure sores;

               d)      Failed to undertake ROM exercises - moving their joints and limbs, and
                       assisting vulnerable residents who could walk or exercise. Without this
                       assistance, residents lost mobility, rendering them even less independent;

               e)      Failed to wash and bathe dependent residents;

               f)      Failed to get dependent residents up, dressed, and out of bed; and

               g)     Failed to assist dependent residents with meals. Without help, some
                      residents were unable to eat or drink in the time allotted, and some pf them
                      suffered weight loss and dehydration.                                f



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       23.     These tell-tale signs confirm that Cavalier Healthcare of England did not provide

the Basic Care that was required and paid for, and highlight the very human toll of underst~ffing.
                                                                                           '


Defendants' staffing practices saved them the cost of labor, but cost residents their dignity and

comfort, and jeopardized their safety. Residents and their families and former employees will

confirm that because CNAs were not available: residents at Cavalier Healthcare of England

were left for long periods in their own urine and waste; were not cleaned, repositioned, or

moved, resulting in infections, pressure sores, and loss of mobility; were deprived of food and

water; and suffered falls. The failure to provide this care not only violated the law and the

promises made by Defendants, it also degraded residents and increased their risk of serious

negative health consequences such as those suffered by Lillie Mitchell.

       24.     As even more specific proof of the pattern of failing to meet the Basic Needs of

the residents at Cavalier Healthcare of England, surveys conducted by the Office of Long Term

Care provide proof that the Defendants were on notice and aware of problems with resident care.

For example, in a November 21, 2014 survey conducted in the midst of Lillie Mitchell's

residency, the facility was cited for numerous deficiencies relating to the administration of

nursing care, including:

       a)      Failure to write and use policies that forbid mistreatment, neglect and abuse of
               residents and theft of residents' property (resulting in immediate jeopardy to
               resident safety);

       b)      Failure to provide necessary care and services to maintain the highest well being
               of each resident (resulting immediate in immediate jeopardy to resident safety);

       c)      Failure to administer care in an acceptable way that maintains the well-being of
               each resident (resulting in immediate jeopardy to resident safety);

       d)      Failure to make sure that each resident gets a nutritional and well balanced diet,
               unless it is not possible to do so; and



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       e)      Failure to hire only people with no legal history of abusing neglec4ng or
               mistreating residents, report and investigate any acts or reports of abuse, 'eglect
               or mistreatment of residents.                                    .           i
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Similarly, on January 23, 2015, the facility was cited for:

       a)      Failure to hire only people with no legal history of abusing neglecting or
               mistreating residents, report and investigate any acts or reports of abuse, neglect
               or mistreatment of residents;

       b)      Failure to develop policies that prevent mistreatment, neglect, or abuse of
               residents or theft of resident property; and

       c)      Failure to provide necessary care and services to maintain the highest well being
               of each resident.

       22.     The deficiencies cited in the surveys from the Office of Long Term Care, such as

those referenced above specific to Cavalier Healthcare of England, are for failures to meet

standards established by a comprehensive group of federal and state regulations that regulate all

aspects of care in nursing homes.

       A.      Federal requirements.

       25.     As part of the Omnibus Reconciliation Act of 1987, Congress enacted the Nursing

Home Refonn Act, 42 U.S.C. §§ 1395i-3, 1396r ("NHRA"), which establishes minimum

standards for nursing facilities participating in, and seeking funding from, the Medicaid and

Medicare programs.

       26.     Cavalier Healthcare of England is a nursing facility as defined by the NHRA. 42

U.S.C. § 1396r(a).

       27.     The NHRA mandates that nursing facilities "operate and provide services in

compliance with all applicable Federal, State, and local laws and regulations ... and with accepted

professional standards and principles which apply to professionals providing services in such a

facility." 42 U.S.C. § 1396r(d)(4)(A). Likewise, 42 U.S.C. § 1320c-5(a)(2) requires all health

care providers, including nursing facilities, to ensure that all services for which they submit
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claims for Medicaid payment are "of a quality which meets professionally recognized standards

of health care."
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       28.       Under the NHRA, nursing home operators that participate in Medicaid or

Medicare must conduct comprehensive clinical assessments of each nursing home resident's

needs, which are reflected in the MDS. 42 C.F.R. § 483.20(b)-(c). The MDS documents and

scores each resident's level of impairment or infirmity, forms the foundation of the resident's

care plan, and defines the day-to-day services the resident needs. 42 C.F.R. § 483.20(b). Given

the MDS's importance to residents' assessment and care, various regulations ensure that an MDS

accurately reflects each resident's status and needs - requiring that the MDS be signed and

certified, and imposing penalties for falsifying an MDS. 42 C.F.R. § 483.20(g)-(k).

       29.       The MDS allows the nursing home to catalog exactly which Basic Care services

are required by its residents with great specificity, as well as the number of staff members who

assist when assistance is needed.

       30.       Federal regulations require that all nursing homes have sufficient numbers of

nursing staff, including CNAs, "to provide nursing and related services to attain or maintain the

highest practical physical, mental, and psychosocial well-being of each resident, as determined

by resident assessments and individual plans of care." 42 C.F.R. § 483.30(a). Further, every

nursing home, as a condition of payment and participation in the Medicaid and Medicare

program, must:

               provide services by sufficient numbers of each of the following
               types of personnel on a 24-hour basis to provide nursing care to all
               residents in accordance with resident care plans: (i) .. .licensed
               nurses; and (ii) [o]ther nursing personnel.

42 C.F.R. § 483.30(a)(1). "Other nursing personnel" includes CNAs, which are specifically

included as "nurse aids" in 42 C.F.R. § 483.75(e)(l).


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       31.     Thus, federal regulations make clear that:         (a) a nursing home must provide

sufficient nursing staff - including CNAs - to meet the needs documented in the MDS Jd care

plans of its residents, and (b) the necessary level of staffing, therefore, depends upon the specific

needs of and level of care required by the home's resident population.

       B.      State requirements.

       32.     Under Arkansas law, the Department of Human Services which licenses nursing

facilities to operate, "shall not issue or renew a license of a nursing facility unless that facility

employs the direct-care staff needed to provide continuous twenty-four-hour nursing care and

service to meet the needs of each resident of the nursing facility and the staffing standards

required by all state and federal regulations." Ark. Code. Ann.§ 20-10-1402(a).

       33.     Under Arkansas law, there are specific staffing standards regarding the minimum

number of direct-care staff required in nursing facilities and "the staffing standard

required ... shall be the minimum number of direct-care staff required by nursing facilities and

shall be adjusted upward to meet the care needs of residents." Ark. Code. Ann. § 20-10-

1402(b)(l). Therefore, a facility which provides staffing at the minimum number of direct-care

givers required is not in compliance with Arkansas law as those staffing numbers "shall be

adjusted upward to meet the care needs ofresidents." Id.

       34.     Under Arkansas law,

               ... all nursing facilities shall maintain the following minimum
               direct-care staffing-to-resident ratios:

               (1) One (1) direct-care staff to every six (6) residents for the day
               shift. Of this direct-care staff, there shall be at least one (1)
               licensed nurse to every forty (40) residents;

               (2) One (1) direct-care staff to every nine (9) residents for the
               evening shift. Of this direct-care staff, there shall be at least one (1)
               licensed nurse to every forty (40) residents;


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                  (3) One (1) direct-care staff to every fourteen (14) residents for the
                  night shift. Of this direct-care staff, there shall be at least one ( 1)
                  licensed nurse to every eighty (80) residents.

Ark. Code. Ann.§ 20-10-1403(a).

       35.        Thus, like the federal regulations, Arkansas law makes clear that: (a) a nursing

home must provide sufficient nursing staff - including CNAs - to meet the needs of its residents,

and because the minimum staffing requirements "shall be adjusted upward to meet the care needs

of residents," (b) the necessary level of staffing, therefore, depends upon the specific needs of

and level of care required by the home's resident population.

                                  Injuries Suffered by Lillie Mitchell

       36.        Other than hospitalizations, Lillie Mitchell was a resident of Cavalier Healthcare

of England from approximately August 30, 2014 until January 2, 2015.

       37.        Defendants were aware of Ms. Mitchell's medical condition and the care she

required when they represented that they could adequately care for her needs.

       38.        In an effort to ensure that Lillie Mitchell and other residents whose care was

partially funded by the government were placed at Cavalier Healthcare of England, Defendants

held themselves out to the Arkansas Department of Human Services (DHS) and the public at

large as being:

                  a)      Skilled in the performance of nursing, rehabilitative and other medical
                          support services;

                  b)      Properly staffed, supervised and equipped to meet the total needs of their
                          nursing home residents;

                  c)     Able to specifically meet the total nursing home, medical and physical
                         therapy needs of Lillie Mitchell and other residents like her; and

                  d)     Licensed by DHS and complying on a continual basis with all rules,
                         regulations and standards established for nursing homes.



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        39.    Defendants failed to discharge their obligations of care to Lillie Mitchell with a

conscious disregard for her rights and safety. At all times mentioned herein, Defendants, through

their corporate officers and administrators, had knowledge of, ratified and/or otherwise

authorized all of the acts and omissions that caused the injuries suffered by Ms. Mitchell, as

more fully set forth below. Defendants knew that their facility could not provide the minimum

standard of care to the weak and vulnerable residents of Cavalier Healthcare of England. The

severity of the recurrent negligence inflicted upon Ms. Mitchell while a resident of the facility

accelerated the deterioration of her health and physical condition and resulted in physical and

emotional injuries. While a resident at Cavalier Healthcare of England, Lillie Mitchell sustained

multiple injuries including, but not limited to, the following:

               a)      Multiple falls with injury;

               b)      Limb ischemia of the right leg;

               c)      Multiple urinary tract infections ("UTis");

               d)      Sepsis; and

               e)      Death.

       40.     The injuries sustained by Lillie Mitchell, as well as the conduct specified below,

caused her to lose her personal dignity and to suffer extreme and unnecessary pain, anguish, and

emotional trauma.

       41.     Defendants controlled the operation, planning, management and quality control of

Cavalier Healthcare of England. The authority exercised over the nursing facility included, but

was not limited to, budgeting, marketing, human resources management, training, staffing,

creation and implementation of all policy and procedure manuals used by Cavalier Healthcare of

England, federal and state reimbursement, quality care assessment and compliance, licensure and



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certification, legal services, and financial, tax and accounting control through fiscal policies

established by Defendants.

        42.     Defendants operated and managed Cavalier Healthcare of England so as to

maximize profits by reducing staffing levels below that needed to provide adequate care to

residents that would comply with federal and state regulations governing skilled nursing

facilities. Thus, Defendants knowingly and/or with reckless disregard for the consequences of

their actions caused staffing levels at their facility to be set so that the personnel on duty·at any

given time could not reasonably tend to the needs of their assigned residents. Upon information

and belief, Defendants knowingly established staffing levels that created recklessly high

nurse/resident ratios and disregarded patient acuity levels as well as the minimal time required to

perform essential functions. These acts of malfeasance directly caused injury to Lillie Mitchell

and other residents of Cavalier Healthcare of England and were known to Defendants.

        43.     The acts and omissions of Defendants were motivated by a desire to increase the

profitability by reducing expenditures for needed staff training, supervision, and care to levels

that would predictably lead to severe injury.

        44.     Plaintiff alleges that, during Lillie Mitchell's residency at Cavalier Healthcare of

England, Ms. Mitchell was under the care, supervision and treatment of Defendants and that the

injuries complained of were proximately caused by the acts and omissions of the Defendants.

        45.     Defendants were vicariously liable for the acts and omissions of all persons or

entities under their control, either directly or indirectly, including employees, agents, consultants

and independent contractors, whether in-house or outside entities, individuals, agencies or pools

causing or contributing to the injuries of Lillie Mitchell.

        CAUSES OF ACTION AGAINST THE NURSING HOME DEFENDANTS

                                     COUNT ONE: NEGLIGENCE

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       46.       Plaintiff incorporates the allegations contained in Paragraphs 1 - 43 as if fully set

forth herein.

       47.       The Nursing Home Defendants owed a non-delegable duty to residents, including

Lillie Mitchell, to provide adequate and appropriate custodial care and supervision, which a

reasonably careful nursing home would provide under similar circumstances.

       48.       The Nursing Home Defendants owed a non-delegable duty to their re&idents,

including Lillie Mitchell, to exercise reasonable care in providing care and services in a s•fe and

beneficial manner.

        49.      The Nursing Home Defendants owed a non-delegable duty to their residents,

including Lillie Mitchell, to hire, train and supervise employees to deliver care and services to

residents in a safe and beneficial manner.

        50.      The Nursing Home Defendants owed a non-delegable duty to residents, including

Lillie Mitchell, to use reasonable care in treating their residents with the degree of skill and

learning ordinarily possessed and used by nursing home facilities in the same or similar locality.

       51.       The Nursing Home Defendants owed a non-delegable duty to assist all residents,

including Lillie Mitchell, in attaining and maintaining the highest level of physical, mental and

psychosocial well-being.

       52.       The Nursing Home Defendants breached these duties by failing to exercise

reasonable care and by failing to prevent the mistreatment, abuse and neglect of Lillie Mitchell.

The negligence of Nursing Home Defendants includes, but is not limited to, the following acts

and omissions:

                 a)     The failure to follow physician orders to ensure that residents were free of
                        significant medication errors;



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     b)    The failure to ensure that Ms. Mitchell attained and maintained her highest
           level of physical, mental, and psychosocial well-being;

     c)    The failure to establish, publish and/or adhere to policies for niursing
           personnel concerning the care and treatment of residents with n111rsing,
           medical and psychosocial needs similar to those of Ms. Mitchell; [

     d)    The failure to increase the number of nursing personnel to ensute that
           Lillie Mitchell received timely and accurate care assessments, and proper
           treatment, medication and diet;

      e)   The failure to provide sufficient numbers of qualified personnel, including
           nurses, licensed practical nurses, certified nurse assistants and medication
           aides to meet the total needs of Ms. Mitchell throughout her resideney;

      f)   The failure to increase the number of nursing personnel at the facility to
           ensure that Lillie Mitchell:

           1)      Received timely and accurate care assessments;

           2)     Received proper treatment, medication, and diet; and

           3)     Was protected from accidental injuries by the correct use of
                  ordered and reasonable safety measures.

      g)   The failure to adequately screen, evaluate, and check references, test for
           competence and use ordinary care in selecting nursing personnel to work
           at the facility;

     h)    The creation of and/or the failure or refusal to identify and cortect the
           injuries, conditions, and circumstances described in paragraph 37 and
           exhibited by Ms. Mitchell;

      i)   The failure to terminate employees at the facility assigned to Ms. Mitchell
           who were known to be careless, incompetent and unwilling to comply
           with the policies and procedures of the facility and the rules and
           regulations promulgated by the Arkansas Department of Human Services
           and the Office of Long Term Care;

     j)    The failure to assign nursing personnel at the facility duties consistent
           with their education and experience based on:

           1)     Lillie Mitchell's medical history and condition, nursing and
                  rehabilitative needs;

           2)     The characteristics of the resident population residing in the. area of
                  the facility where Lillie Mitchell was a resident; and,        ·
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                        3)     The nursmg skills needed to provide care to such resident
                               population.

                k)      The failure by the members of the governing body of the facility to
                        discharge their legal and lawful obligation by (1) ensuring that the rules
                        and regulations designed to protect the health and safety of residents, such
                        as Lillie Mitchell, as promulgated by the Arkansas Department of Human
                        Services and the Arkansas Office of Long Term Care, were consistently
                        complied with on an ongoing basis and (2) ensuring appropriate corrective
                        measures were implemented to correct problems concerning inadequate
                        resident care;

                I)      The failure to adopt adequate guidelines, policies, and procedures of the
                        facility for documenting, maintaining files, investigating and responding
                        to any complaint regarding the quality of resident care or misconduct by
                        employees at the facility, regardless of whether such complaint derived
                        from a resident of the facility, an employee of the facility or any interested
                        person;

                m)      The failure to maintain medical records on Lillie Mitchell in accordance
                        with accepted professional standards and practices that are complete,
                        accurately documented, readily accessible and systematically organized
                        with respect to diagnosis, treatment and assessment and establishment of
                        appropriate care plans of care and treatment; and

                n)      The failure to properly in-service and orient employees to pertinent patient
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                        care needs to maintain the safety of residents.

        53.     A reasonably careful nursing home operating under similar circumstances would

foresee that the failure to provide the ordinary care listed above would result in devastating

injuries to Lillie Mitchell.

        54.     The Nursing Defendants further breached their duty of care to Lillie Mitchell by

violating certain laws and regulations in force in the State of Arkansas at the time. of the

occurrences discussed herein including, but not limited to, the following:

                a)      By failing to comply with rules and regulations promulgated by the
                        Arkansas Department of Human Services, Division of Social Services,
                        Office of Long Term Care, pursuant to authority expressly conferred by
                        Act 28 of 1979 (Ark. Code Ann. § 20-10-202, et seq.) and published in the
                        Long Term Care (LTC) Provider Manual on April 8, 1984, and the

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                       supplements thereto, and federal mm1mum standards imposed by the
                       United States Department of Health and Human Services;

               b)      By failing to provide the necessary care and services to attain or m~intain
                       the highest practicable, physical, mental and psychosocial well-being of
                       Lillie Mitchell in accordance with the comprehensive assessment and plan
                       of care;

               c)      By failing to ensure a nursing care plan based on Lillie Mitchell's
                       problems and needs was established that contained measurable obj<ectives
                       and timetables to meet her medical, nursing, and mental and psychQsocial
                       needs as identified in her comprehensive assessment;             ·

               d)      By failing to review and revise Lillie Mitchell's nursing care plJ when
                       her needs changed;                                                i   I

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               e)      By failing to treat Lillie Mitchell courteously, fairly and with the ifullest
                       measure of dignity;                                                  '

               t)      By failing to provide sufficient nursing staff and nursing personnel to
                       ensure that Lillie Mitchell attained and maintained her highest practicable
                       physical, mental and psychosocial well-being;

               g)      By failing to provide a safe environment;

               h)      By failing to administer the facility in a manner that enabled it to use its
                       resources effectively and efficiently to attain or maintain the highest
                       practicable physical, mental and psychosocial well-being of each resident;
                       and

               i)      By criminally abusing and neglecting Lillie Mitchell and by failing to
                       report that abuse in violation of the Adult and Long-Term Care Facility
                       Resident Maltreatment Act, Ark. Code Ann. § § 12-12-1701 et seq.

       55.     The Nursing Home Defendants were further negligent by infringing upon and

depriving Lillie Mitchell of the rights guaranteed by Ark. Code Ann. §§ 20-10-1201 et seq.

including, but not limited to, the following:

               a)      The right to receive adequate and appropriate health care and protective
                       and support services, including social services, mental health services, if
                       available, planned recreational activities, and therapeutic and rehabilitative
                       services consistent with the resident care plan for Lillie Mitchell, with
                       established and recognized practice standards within the community, and
                       with rules as adopted by federal and state agencies, such rights inclµde:


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           1)     The right to receive adequate and appropriate custodial service,
                  defined as care for Lillie Mitchell which entailed observation of
                  diet and sleeping habits and maintenance of a watchfulness over
                  her general health, safety, and well-being; and

           2)     The right to receive adequate and appropriate residential care
                  plans, defined as a written plan developed, maintained, and
                  reviewed not less than quarterly by a registered nurse~ with
                  participation from other facility staff and Ms. Mitchell or her
                  designee or legal representative, which included a comprehensive
                  assessment of the needs of Ms. Mitchell, a listing of services
                  provided within or outside the facility to meet those needs, and an
                  explanation of service goals;

      b)   The right to regular, consultative, and emergency services of physicians;

      c)   The right to appropriate observation, assessment, nursing diagnosis,
           planning, intervention, and evaluation of care by nursing staff;

      d)   The right to access to dental and other health-related services, recreational
           services, rehabilitative services, and social work services appropriate to
           the needs and conditions of Ms. Mitchell, and not directly furnished by the
           licensee;

      e)   The right to a wholesome and nourishing diet sufficient to meet generally
           accepted standards of proper nutrition, guided by standards recommended
           by nationally recognized professional groups and associations with
           knowledge of dietetics, and such therapeutic diets as may be prescribed by
           attending physicians;

      f)   The right to a facility with its premises and equipment, and conduct of its
           operations maintained in a safe and sanitary manner;

      g)   The right to be free from mental and physical abuse, and from physical
           and chemical restraints;

      h)   The right of Ms. Mitchell to have privacy of her body in treatment and in
           caring for her personal needs;

      i)   The right to prompt efforts by the facility to resolve resident grievances,
           including grievances with respect to resident care and the behavior of
           other residents;

     j)    The right to participate in social, religious, and community activities;




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               k)      The right to the obligation of the facility to keep full records of the
                       admissions and discharges of Ms. Mitchell and her medical and general
                       health status, including:

                       1)      medical records;

                       2)     personal and social history;

                       3)     individual resident care plans, including, but not limited to,
                              prescribed services, service frequency and duration, and service
                              goals;

                       4)     making it a criminal offense to fraudulently alter, deface, or falsify
                              any medical or other long-term care facility record, or cause or
                              procure any of these offenses to be committed; and

                       5)     The right to be treated courteously, fairly, and with the fullest
                              measure of dignity.

        56.    A reasonably prudent nursing home, operating under the same or similar

conditions, would not have failed to provide the care listed above. Each of the foregoing acts of

negligence on the part of the Nursing Home Defendants was a proximate cause of Lillie

Mitchell's injuries, which were foreseeable. Ms. Mitchell suffered personal injury including

extreme pain and suffering, mental anguish, disfigurement, disability, degradation, loss of

personal dignity, and emotional distress.

        57.    As a direct and proximate result of such grossly negligent, willful, wanton,

reckless, malicious and/or intentional conduct, Plaintiff asserts a claim for judgment for all

compensatory and punitive damages against the Nursing Home Defendants including, but not

limited to, medical expenses, extreme pain and suffering, mental anguish, emotional distress, and

loss of life in an amount exceeding that required by federal court jurisdiction in diversity of

citizenship cases, to be determined by the jury, plus costs and all other relief to which Plaintiffs

are entitled by law.

                             COUNT Two: MEDICAL MALPRACTICE


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        58.     Plaintiff incorporates the allegations contained in Paragraphs 1 - 55 as if fl.illy set

forth herein.

        59.     The Nursing Home Defendants are either medical care providers as defillled by

Ark. Code Ann. § 16-114-201(2) and/or liable for medical care providers as defined by Ark.

Code Ann.§ 16-114-201(2).

        60.     The Nursing Home Defendants owed a non-delegable duty to residents, including

Lillie Mitchell, to use reasonable care in treating their residents with the degree of sldll and

learning ordinarily possessed and used by nursing home facilities in the same or similar locality.

        61.     The Nursing Home Defendants owed a non-delegable duty to assist all residents,

including Lillie Mitchell, in attaining and maintaining the highest level of physical, mental and

psychosocial well-being.

        62.     The Nursing Home Defendants failed to meet the applicable standards of care and

violated their duty of care to Lillie Mitchell through mistreatment, abuse and neglect. The

Nursing Horne Defendants failed to adequately supervise nurses and aides and failed to hire

sufficient nurses and aides. As such, the nurses and aides were unable to provide Lillie Mitchell

the requisite care, and as a result, negligent acts occurred as set forth herein. The medical

negligence of Nursing Home Defendants includes, but is not limited to, the following acts and

omissions:

                a)     The failure to ensure that Lillie Mitchell received the following:

                       1)      Timely and accurate care assessments;

                       2)      Proper treatment, medication and diet;

                       3)      Necessary supervision; and

                       4)      Timely nursing and medical intervention due to a significant
                               change in condition.


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                b)      The failure to provide, implement, and ensure adequate nursing care plan
                        revisions and modifications as the needs of Lillie Mitchell changed; i
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                c)      The failure to provide, implement and ensure that an adequate nursi~g care
                        plan for Lillie Mitchell was followed by nursing personnel;        .

                d)      The failure to provide Lillie Mitchell with adequate and appropriate
                        nursing care, treatments, and medications;
                                                                                              I
                e)      The failure to ensure that Lillie Mitchell was assessed in order to teceive
                        adequate and proper nutrition, fluids, and therapeutic diet;

                f)      The failure to provide adequate care and treatment to Lillie Mitchell; and

                g)      The failure to adequately and appropriately monitor Lillie Mitchell and
                        recognize significant changes in her health status.

        63.     A reasonably prudent nursing home, operating under the same or similar

conditions, would not have failed to provide the care listed above. Each of the foregoing acts of

negligence on the part of the Nursing Home Defendants was a proximate cause of Lillie

Mitchell's injuries, which were foreseeable. Ms. Mitchell suffered personal injury, including

excruciating pain and suffering, mental anguish, emotional distress, and loss of life.

        64.     The Nursing Horne Defendants were negligent and reckless in breaching the

duties owed to Lillie Mitchell under the Medical Malpractice Act for the reasons specifically

enumerated in this Complaint.

        65.     As a direct and proximate result of such grossly negligent, willful, wanton,

reckless, malicious, and/or intentional conduct, Lillie Mitchell suffered injuries as described

herein. Plaintiff asserts a claim for judgment for all compensatory and punitive damages against

the Defendants, including, but not limited to, medical expenses, extreme pain and suffering,

mental anguish, emotional distress, and loss of life in an amount exceeding that required for

federal court jurisdiction in diversity of citizenship cases, to be determined by the jury, plus costs

and all other relief to which Plaintiff is entitled by law.


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                       COUNT THREE! BREACH OF THE ADMISSION AGREEMENT

       66.      Plaintiff incorporates the allegations contained in paragraphs 1-63 as if f~ly set
                                                                                           !
forth herein.

       67.      Before being admitted to Cavalier Healthcare of England, Lillie Mitche~l was

required to enter into a Resident Admission Agreement, whereby the facility agreed to provide

nursing and custodial care, necessary goods, services, and/or treatment to Ms. Mitchell in

exchange for valuable consideration.

       68.      Lillie Mitchell, or those acting on her behalf, did what the Agreement for Care

required of her in that valuable consideration was paid for the goods, services, care and

treatment, including personal or custodial care, and professional nursing care the Defendants

promised to provide.

        69.     The Nursing Home Defendants breached their contractual duties by faijling to

provide the care and services as described in the agreement, causing damage to Lillie i\1itchell.

As a result, the Plaintiff is entitled to, and seeks judgment for, the recovery of compensatory

damages.

       70.      The Nursing Home Defendants are also liable for all consequential damages,

because the Nursing Home Defendants knew, or should have known, that breaches of the

admission agreement would result in consequential damages to Lillie Mitchell, and, under the

circumstances, the Nursing Home Defendants should have understood that it had agreed to

assume responsibility for any consequential damages caused by their breaches of the admission

agreement. Plaintiff, therefore, seeks judgment for all foreseeable consequential damages, which

flowed naturally from the failure of the Nursing Home Defendants to provide the care, goods,

and services promised under the admission agreement, including but not limited to medical

expenses, pain and suffering, and mental anguish.
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        71.     Plaintiff is entitled to seek punitive damages for breach of contract, beca1Jse the

Nursing Home Defendants knew or ought to have known, in the light of the surrornding

circumstances, that their nonfeasance in breach of the admissions agreement would naturally and

probably result in injury or damage, yet the Nursing Horne Defendants breached the agr~ement

in reckless disregard of the consequences from which malice may be inferred.

        72.     Plaintiff, for good cause, is unable to attach a copy of the actual admissions

agreement upon which this claim is based, because it is in the possession of the Nursing Home

Defendants.

                     COUNT FOUR: BREACH OF THE PROVIDER AGREEMENT

        73.     Plaintiff incorporates the allegations contained in paragraphs 1-70 as if fully set

forth herein.

        74.     Upon becoming a resident of Cavalier Healthcare of England, Ms. Mitchell, as a
                                                                                           !

Medicare and/or Medicaid recipient, became a third-party beneficiary of the contract or provider

agreement between the Nursing Horne Defendants and the state and federal governments, an

example of which is attached as Exhibit B.

       75.      For consideration duly paid by Ms. Mitchell, or on her behalf, the Nursing Home

Defendants agreed to provide residents with personal and custodial care and professional nursing

care in compliance with the requirements set forth in the provider agreements, as well as the

minimum standards of care imposed by applicable law including the statutes and regulations set

out herein. In addition, by entering into the agreement, the Nursing Home Defendants promised

to "comply with all rules, regulations, changes in and additions thereto issued by the United

States Department of Health and Human Services pertaining to nursing homes, and to comply

with all rules, regulations, duly promulgated changes in and additions thereto issued by the

State." The Nursing Home Defendants further agreed that "the rights and privileges of the
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residents [were] of primary concern to the parties" and covenanted to "protect and preset" the

rights of the residents. The parties to the contract agreed "that failure to act in a ,armer

consistent with those rights and privileges shall constitute an immediate breach of agreeme~t."

       76.     As the name implies, the provider agreement exists to pay for and provibe for
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resident, personal, or custodial care and professional nursing care. The provider agreqrnents

between the Nursing Horne Defendants and the state and federal government were clearly

intended to benefit the residents of Cavalier Healthcare of England, including Lillie Mitchell.

       77.     In addition to the representations made by Nursing Horne Defendants in the

provider agreement, on the MDS that is submitted for each Medicaid recipient quarterly, the
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provider is required to certify the accuracy and truth of the MDS assessment as a condition of
                                                                                            I




payment:

               I certify that the accompanying information accurately reflects
               resident assessment information for this resident and that I
               collected or coordinated the collection of this information on the
               dates specified. To the best of my knowledge, this information was
               collected in accordance with applicable Medicare and Medicaid
               requirements. I understand that this information is used as a basis
               for ensuring that residents receive appropriate and quality care, and
               as basis for payment from federal funds. I further understand that
               payment of such federal funds and continued participation in the
               government-funded health care programs is conditioned on the
               accuracy and truthfulness of this information, and that I may be
               personally subject to or may subject my organization to substantial
               criminal, civil, and/or administrative penalties for submitting false
               information. I also certify that I am authorized to submit this
               information by this facility on its behalf.

The provider agreement makes the submission of accurate MDSs a condition of payment for the

Medicaid program.

       78.     The Nursing Home Defendants breached the provider agreement and committed

multiple acts of nonfeasance in failing to provide the care, goods, and services to industry

standards, as required by law and as agreed, including but not limited to:
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               a)       Nonfeasance in failing to provide, as promised, the care and servi~es for
                        Ms. Mitchell to attain or maintain her highest practicable physical, ¢ental,
                        and psychosocial well-being, in accordance with a compre~ensive
                        assessment and plan of care;                                         I
                                                                                              I

               b)       Nonfeasance in failing to provide, as promised, dietary services, including
                        special diets, supplemental feedings, special delivery preparation,
                        assistance, and equipment required for preparing and dispensirw oral
                        feedings and special feeding devices;                                ·

               c)       Nonfeasance in failing to provide, as promised, personal or custodial
                        services and nursing care;

                d)      Nonfeasance in failing, as promised, to implement policies and pro¢edures
                        so as to prevent infringement or deprivation of Ms. Mitchell's rights as a
                        resident of a long term care facility;

                e)      Nonfeasance in failing to provide, as promised, assistance to Ms. Mitchell
                        in developing and carrying out a plan of care;

                f)      Nonfeasance in failing to comply, as promised, with protections, duties
                        and obligations imposed by applicable state and federal statutes and
                        regulations as alleged herein; and

                g)      Nonfeasance in failing to staff Cavalier Healthcare of England with
                        sufficient personnel to adequately meet the needs of Ms. Mitchell, failing
                        to comply with the rules and regulations promulgated by the state and
                        federal governments, and in failing to provide staff qualified to meet the
                        needs of the residents.

        79.    As a result of the Nursing Home Defendants' breach of the provider agreement,

Plaintiff asserts a claim for judgment for all compensatory damages including the amount a jury

determines is sufficient compensation for the loss of the benefit of promised services and care

and treatment, in an amount that exceeds that required for federal court jurisdiction in diversity

of citizenship cases.

        80.    The Nursing Home Defendants are also liable for all consequential damages,

because the Defendants knew, or should have known, that breaches of the provider agreement

would result in consequential damages to Lillie Mitchell, and, under the circumstances, the



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Nursing Home Defendants should have understood that they had agreed to assume responsibility
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                                                                                              '
for any consequential damages caused by their breaches of the provider agreement.
                                                                                              '
        81.     Plaintiff seeks judgment for all foreseeable consequential damages, which tlowed

naturally from the failure of the Nursing Home Defendants to provide the care, good~, and
                                                                                              I


services promised under the provider agreement, including but not limited to medical expenses,

pain and suffering, and mental anguish.

        82.     Plaintiff is entitled to seek punitive damages for breach of contract, because the

Nursing Home Defendants knew or ought to have known, in the light of the surrounding

circumstances, that their nonfeasance in breach of the provider agreement would naturally and

probably result in injury or damage, yet the Nursing Home Defendants breached the agreement

in reckless disregard of the consequences from which malice may be inferred.

        83.     Plaintiff, for good cause, is unable to attach a copy of the actual provider

agreement upon which this claim is based, because it is in the possession of the Nursing Home

Defendants.

                          COUNT FIVE: DECEPTIVE TRADE PRACTICES

        84.     Plaintiff incorporates the allegations contained in Paragraphs 1-81 as if fully set

forth herein.

        85.     At all times pertinent to this cause of action, Lillie Mitchell was an "elder person"

as defined by the Arkansas Deceptive Trade Practices Act, Ark. Code Ann.§ 4-88-20l(a). As an

"elder person" within the meaning of the Deceptive Trade Practices Act, the Plaintiff has a

private cause of action to recover actual damages, punitive damages, and reasonable attorney's

fees pursuant to Ark. Code Ann. § 4-88-204.

        86.     At all relevant times, the Arkansas Deceptive Trade Practices Act, codified at

Ark. Code Ann. 4-88-107(a) provides that it is unlawful to:
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       a)      Knowingly take advantage of a consumer who is reasonably unable to
               protect his or her interest because of:

               1)      Physical infirmity; or

               2)      A similar factor; and

       b)      Engage in any other unconscionable, false, or deceptive act or practice in ·
               business, commerce, or trade.

       87.     Ark. Code Ann. § 4-88-108 provides that, when utilized in cormection 'Mith the
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sale or advertisement of any goods, services, or charitable solicitation, it shall be uniaJi'ul for
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any person to ( l) act, use or employ any deception, fraud or false pretense, or (2) cbnceal,

suppress, or omit any material fact with intent that others rely on the concealment, suppn:ssion,

or omission.

       88.     On information and belief, the Nursing Home Defendants made statements to

Arkansas consumers regarding the services provided and quality of care at Cavalier Healthcare

of England that may have, tended to, or did deceive or mislead Arkansas consumers.

       89.     For example, the Nursing Home Defendants were required by federal and state

regulations to devise a care plan for each resident based upon each resident's individual needs.

On information and belief, the Nursing Home Defendants communicated these care plans to

residents and their families, including Lillie Mitchell, which may have, tended to, or did lead

them to believe that the Nursing Home Defendants would deliver - and had the staff and

resources to deliver - the care outlined in the plans. These representations were false and

misleading.

       90.     Additionally, the Nursing Home Defendants made misrepresentations regarding

the care they provide in marketing materials directed to consumers in Arkansas.

       91.     The Nursing Home Defendants' trade practices also are, and have been

throughout the residency of Lillie Mitchell, unconscionable, because the nursing home residents,
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such as Ms. Mitchell, constitute a vulnerable population: they are elderly, ill, infirm, and often

deteriorating. These residents often face the double burden of dependency and isolation. The

Defendants accept these vulnerable residents for admission, and then knowingly fail to provide

sufficient levels of staffing to provide the care required. Many nursing home residents require

assistance with most or all of the ADLs or basic care needs. Once admitted, they lack the

autonomy or ability to seek alternative care. Residents who are unable to get in and out of bed on

their own, for example, have few options when the nursing home at which they are living fails to

provide the care they need. Thus, residents cannot "vote with their feet," as consumers mlight in

other contexts. Some residents are not even able to voice a complaint.

       92.     The Nursing Home Defendants also engage in, and have engaged in throughout

the residency of Ms. Mitchell, substantively unconscionable trade practices by providing care

that is so inadequate to meet the needs of residents that it results in a gross disparity between the

value received by the residents for the services provided and the cost of the services.

       93.     The Nursing Home Defendants knew that they were not meeting, and did not have

sufficient CNA staff to meet, the Basic Care needs of their residents as mandated by state and

federal laws and regulations.

       94.     As described above, the Nursing Home Defendants received repeated deficiencies

related to failures of Basic Care in Office of Long Term Care surveys. They received these

deficiencies despite, on information and belie±: taking steps to increase staffing and prepare staff
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for surveys ahead of time - steps that would lead surveyors to believe levels of care ptovided

were higher than they actually were during non-survey times.

       95.     The conduct of the Nursing Home Defendants, as described herein, constitutes a

deceptive practice in violation of the Deceptive Trade Practices Act. The Nursinh Home

Defendants engaged in an unconscionable, false, and/or deceptive act or practice in b~siness,
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        commerce and/or trade by marketing themselves and holding themselves out to the pubqc and

        Lillie Mitchell as being able to meet the needs of elder residents of Cavalier Healthcare of

        England. The Nursing Home Defendants profited greatly as a result of their deceptive: trade

        practices, but the Nursing Home Defendants were aware that Cavalier Healthcare of E~gland

        could not meet the needs of its residents, including Lillie Mitchell.
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                96.     As a direct and proximate result of the Nursing Home Defendants' Mpngful

        conduct, Plaintiff has suffered actual damages.

                CAUSES OF ACTION AGAINST THE ADMINISTRATOR DEFENDANT

                                             FACTUAL AL LE GATJONS


                97.     Plaintiff incorporates the allegations contained in paragraphs 1-94 as if fully set

        forth herein.

                98.     Randy McChristian was the Administrator of Cavalier Healthcare of England

        during the residency of Lillie Mitchell.

                99.     As administrator of Cavalier Healthcare of England, Randy McChristian was

        responsible for ensuring that the facility complied with all state and federal regulations related to

        nursing facilities. Mr. McChristian had a duty to administer the facility in a manner that enabled

        it to use resources effectively and efficiently to attain or maintain the highest practicable

        physical, mental, and psychological well-being of each resident. The nursing facility, under the

        leadership of its administrator, is also required to operate and provide services in compliance

        with all applicable federal, state, and local laws, regulations, and codes, and with accepted

        professional standards and principles that apply to professionals providing services iin such

        facilities. Defendant Randy McChristian breached the duty of care he owed to Lillie Mitchell.

                                                   NEGLIGENCE




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             100.     Plaintiff incorporates the allegations contained in paragraphs 1-97 as if fupy set

     forth herein.

             101.     Randy McChristian owed a duty to the residents, including Lillie Mitch~ll, to
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     provide services as a reasonable administrator within accepted standards for a nursing Ihome

     administrator.

             102.     The Administrator Defendant breached the duties owed to the            reside~ts   of

     Cavalier Healthcare of England, including Lillie Mitchell, by failing to supervise nurs~s and

     nurses' aides and failing to hire sufficient nurses and nurses' aides, and as such, the nurses and

     nurses' aides were unable to provide Lillie Mitchell the care she required. The negligence of the

     Administrator Defendant includes, but is not limited to, the following acts and omissions:

                      a)     Failure to adequately assess, evaluate, and supervise nursing personnel so
                             as to ensure that Lillie Mitchell received appropriate nursing care;

                      b)     Failure to ensure that Lillie Mitchell was provided with basic and
                             necessary care and supervision;

                      c)     Failure to adequately hire, train, supervise, and retain a sufficient amount
                             of competent and qualified registered nurses, licensed vocational ;nurses,
                             nurse assistants and other personnel in said facility to assure that Lillie
                             Mitchell received care, treatment, and services in accordance with state
                             and federal law;

                      d)     Failure to assign nursing personnel at Cavalier Healthcare of England
                             duties consistent with their education and experience based on:

                             1)     Lillie Mitchell's medical history and condition, nursing, and
                                    rehabilitative needs;

                             2)     The characteristics of the resident population residing in the area of
                                    the facility where Lillie Mitchell was a resident; and

                             3)     Nursing skills needed to provide care to              such resident
                                    population;

                      e)     The failure to provide sufficient numbers of qualified personnel to ensure
                             that Lillie Mitchell was provided with a safe environment and was
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                                protected from abuse and mistreatment by the correct use of       reas~nable
                                safety measures;

                        f)      The failure to properly in-service and orient employees to pehinent
                                resident care needs to maintain the safety of residents;

                        g)      The failure to protect Lillie Mitchell from abuse and neglect; and

                        h)      The failure to provide adequate supervision to the nursing staff so as to
                                ensure that Lillie Mitchell received adequate and proper care.

                103.    A reasonably careful nursing home administrator would have foreseen that the

        failure to provide the ordinary care listed above would result in devastating injuries to Lillie

        Mitchell.

                104.    As a direct and proximate result of the Administrator Defendant's negligent

        conduct, Plaintiff asserts a claim for judgment for all compensatory damages against the

        Administrator Defendant, including, but not limited to, medical expenses, extreme pain and

        suffering, mental anguish, emotional distress and loss of life in an amount exceeding that

        required by federal court jurisdiction in diversity of citizenship cases, to be determined by the

        jury, plus costs and all other relief to which the Plaintiff is entitled by law.

                                              PRAYER FOR RELIEF

                WHEREFORE, Plaintiff Peggy Kirkpatrick, as Special Administrator of the Estate of

        Lillie Mitchell, prays for judgment against Defendants as follows:

                1.      For damages in an amount adequate to compensate the Plaintiff for the injuries

        and damages sustained and exceeding that required by federal court jurisdiction in diversity of

        citizenship cases.

                2.      For all general and special damages caused by the alleged conduct of Defendants.

                3.      For the costs of litigating this case.




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               4.      For attorney's fees pursuant to Ark. Code Ann. § 16-22-308 and Ark. Code Ann.

        § 4-88-204.

               5.      For punitive damages sufficient to punish Defendants for their egregious and

        malicious misconduct in reckless disregard and conscious indifference to the consequences to

        Lillie Mitchell and to deter Defendants and others from repeating such atrocities.

               6.      For all other relief to which Plaintiff is entitled.

                                                        Respectfully submitted,

                                                        Peggy Kirkpatrick, as Special Administrator of the
                                                        Estate of Lillie Mitchell




                                                     By:   ~lf/.,./£.J/•
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